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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Honorable Marcia S. Krieger

   Civil Action No. 11-cv-01611-MSK-CBS

   WESTERN CONVENIENCE STORES, INC., a Colorado corporation; and
   WESTERN TRUCK ONE, LLC, a Colorado limited liability company,

                 Plaintiffs,

   v.

   SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

                 Defendant,

   and

   SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

                 Third-Party Plaintiff,

   v.

   HOSSEIN AND DEBRA LYNN TARAGHI,

                 Third-Party Defendant.


                                 AMENDED FINAL JUDGMENT


          THIS MATTER comes before the Court on the Parties’ Stipulation and Motion to Amend

   Final Judgment (#342) filed December 23, 2014. The Court treats the Stipulation as a motion

   and GRANTS the Motion. The Final Judgment is amended as follows:

          1.     Judgment in favor of Suncor and against Plaintiffs Western Convenience Stores,

                 Inc. (“WCS”) and Western Truck One, LLC (“WTO”) on all claims in the

                 Amended Complaint (Dkt. #43). Plaintiffs shall take nothing on these claims.

          2.     Judgment in favor of Suncor against Plaintiff WCS and Third Party-Defendants

                 Hossein Taraghi and Debra Lynn Taraghi, jointly and severally, on Suncor’s

                 counterclaim against Plaintiff WCS (Dkt. #31), Suncor’s third-party claim against
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               Third-Party Defendants Hossein Taraghi and Debra Lynn Taraghi, as guarantors

               of WCS, (Dkt. #37), Suncor’s Bill of Costs (Dkt. #324), and Suncor’s Motion for

               Attorneys’ Fees and Related Non-Taxable Expenses (Dkt. #324) in the amount of

               Ten Million Two Hundred Thirty-Five Thousand One Hundred and seventy-Nine

               and 79/100 Dollars ($10,235,179.79), which includes principal and interest

               through the date of entry of this Amended Final Judgment. Interest shall accrue

               on this amount at the rate of 7% per annum, commencing as of the date of entry of

               this Amended Final Judgment and continuing until this amount is fully paid or

               otherwise satisfied.

        3.     Any amounts paid by WCS, Hossein Taraghi, or Debra Lynn Taraghi to Suncor

               or collected by Suncor from the assets of WCS, Hossein Taraghi, or Debra Lynn

               Taraghi shall be applied toward the satisfaction of this Amended Final Judgment

               with respect to each of WCS, Hossein Taraghi, and Debra Lynn Taraghi.

        4.     This Amended Final Judgment does not change the time for appealing the

               Opinion and Order Directing Entry of Judgment in Favor of Suncor Energy

               (U.S.A.) (Dkt. #319) which began to run as of September 8, 2014.

        IT IS SO ORDERED.

        DATED this 21st day of January, 2015.

                                                    BY THE COURT:




                                                    Marcia S. Krieger
                                                    Chief United States District Judge
